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DJF:MAC/MO


               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                )    NO. 3:19-CR-208
                                        )
             v.                         )    (J MANNION)
                                        )
WILLIAM L. COURTRIGHT,                  )
        Defendant                       )

         GOVERNMENT’S SENTENCING MEMORANDUM

     The United States of America, by its attorneys, David J. Freed,

United States Attorney for the Middle District of Pennsylvania, and

Michelle Olshefski and Michael Consiglio, Assistant United States

Attorneys for the District, hereby submit its sentencing memorandum

and recommends a sentence of incarceration with the range of eight to

ten years.

I.   PROCEDURAL BACKGROUND

     In July 2019, the defendant, William L. Courtright, entered a

guilty plea to three corruption charges arising from his conduct as

Mayor of the City of Scranton: Count 1 – Conspiracy to commit offense

against the United States, in violation of 18 U.S.C. §371; Count 2 –

Attempt to obstruct commerce by extortion under color official right in


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violation of 18 U.S.C. §1951(a); Count 3 – Bribery concerning programs

receiving federal funds in violation of 18 U.S.C. §666. Docs. 1, 3, 8. The

parties have fully litigated, and this Court has resolved, objections to

guideline calculation. Since the resolution of these matters, the defense

has sought a three-level reduction of his offense level for acceptance of

responsibility. Doc. 47. Sentencing is scheduled for October 2, 2020.

II.   GUIDELINE CALCULATION

      This Court has resolved all outstanding sentencing guideline

objections in this case. The offense level has been determined to be 40

and the Criminal History Category I. Doc. 42. Under Sentencing

Guidelines table, the sentencing range is 292-365 months. Doc. 42.

      As was recently raised by the defense in their sentencing

memorandum, the Presentence Investigation Report found that three

levels for acceptance of responsibility should not be awarded. Doc. 47,

PSR ¶65. The United States Probation withheld acceptance of

responsibility because of the broad nature of the guideline objections

filed by the defense. PSR ¶65.

      To qualify for a decrease under §3E1.1(a), the Guidelines require

the defendant to “clearly demonstrat[e]” that he has accepted


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responsibility for his offense. U.S.S.G. §3E1.1(a). When deciding

whether it is appropriate, a trial court should access the “totality of the

situation” when determining whether the defendant accepted

responsibility. United States v. Cohen, 171 F.3d 796, 806 (3d Cir. 1999)

quoting United States v. McDowell, 888 F.2d 285, n.2 (3d Cir. 1989).

While the initial objections to guideline calculation were of concern to

the government, it is clear from the subsequent litigation posture of the

defense that the Defendant fully accepts responsibility for his role in

the crimes. Under the current circumstances, the Defendant’s general

request that the government establish certain Guideline enhancements

is not inconsistent with acceptance of responsibility. Therefore, the

Government recommends awarding the Defendant the three-level

reduction for acceptance.

       If this Court follows the parties’ recommendation, the offense level

will be reduced to 37 and the sentencing guideline range will be 210-262

months.

III.   SECTION 3553(a) FACTORS

       Section 3553(a) lists the following factors for a court to consider

when fashioning a sentence:


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        (1) the nature and circumstances of the offense and the
        history and characteristics of the defendant;

        (2) the need for the sentence imposed (A) to reflect the
        seriousness of the offense, to promote respect for the law,
        and to provide just punishment for the offense; (B) to afford
        adequate deterrence to criminal conduct; (C) to protect the
        public from further crimes of the defendant; and (D) to
        provide the defendant with needed educational or vocational
        training, medical care, or other correctional treatment in the
        most effective manner;

        (3) the kinds of sentences available;

        (4) the kinds of sentence and the sentencing range
        established for ... the applicable category of offense
        committed by the applicable category of defendant as set
        forth in the guidelines ...;

        (5) any pertinent policy statement ... issued by the
        Sentencing Commission ...;

        (6) the need to avoid unwarranted sentence disparities
        among defendants with similar records who have been found
        guilty of similar conduct; and

        (7) the need to provide restitution to any victims of the
        offense.

18 U.S.C. §3553(a).

The most germane sentencing guidelines factors will be addressed in

turn.




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     1. Nature and Circumstances of the Offense

     Details of the crimes were outlined in the comprehensive

statement of offense conduct offered during the Defendant’s guilty plea

proceeding. Doc. 13. In sum, the Defendant -- a high ranking public

official who swore to faithfully and truthfully execute his office with

fidelity to the people of Scranton -- betrayed his solemn commitment.

Even worse, the City of Scranton was in financial crisis and in

desperate need of honest and selfless leadership. They got neither.

Finally, the crime was perpetrated upon a community that has been

plagued by corrupt government. A deeply skeptical community had

their confidence in elected officials undermined, again.

     However, it should be noted that when he was confronted with the

compelling evidence gathered by the FBI, the Defendant accepted

responsibility for the criminal conduct, entered a guilty plea to public

corruption offenses, and resigned from his office. In doing so, the

defendant saved his community from the costs and turmoil of prolonged

and contentious litigation.




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     2. Need for the Sentence

     The public has a right to expect that all business conducted on its

behalf by public officials is conducted in a fair and honest way. In the

same vein, the public has a right to expect that the business of its

government is done for the benefit of the community and not for the

benefit of the public official. As discussed above, the offense is of the

utmost seriousness and there is a need for a substantial sentence to

promote respect for the law and to adequately deter other public

officials from engaging in the same conduct.

     In the recent past, this Court has imposed substantial

punishments on public officials who have breached the public trust.

Whether they be county commissioners, police officers, or judges, those

punishments have ranged from months to decades in prison. Although

they did not deter the Defendant, this Court must continue to impose

substantial punishments to deter other public officials from engaging in

similar conduct.

     A dispiriting consequence of public corruption is the divide created

between the people and their government. With each breach of trust,

the chasm widens. A substantial sentence imposed in a public


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proceeding helps to bridge that divide and rebuild trust in honest

government.

        Yet, such a sentence must be proportionate and equitable to

maintain public confidence in the fairness of the judicial system and

government in general. It is the position of the United States that a

sentence within the 210-262 guideline range is greater than necessary

to achieve these goals. Rather, it is submitted that a sentence suggested

by the government is reasonable under all of the circumstance of this

case.

        3. Sentencing Disparity

        The courts have long recognized that sentencing is an

individualized endeavor. “It has been uniform and constant in the

federal judicial tradition for the sentencing judge to consider every

convicted person as an individual and every case as a unique study in

the human failings that sometimes mitigate, sometimes magnify, the

crime and the punishment to ensue.” Pepper v. United States, 562 U.S.

476, 487-88 (2011)(quoting Koon v. United States, 518 U.S. 81, 113

(1996)). Nevertheless, Section 3553(a) requires that a court guard




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against unwarranted sentencing disparities between similarly situated

individuals.

     The courts have navigated between these competing sentencing

objectives by looking to the similarities between defendants for

guidance. United States v. King, 604 F.3d 125, 145 (3d Cir.2010)

(“[S]entencing disparities are unreasonable only when the defendants

are similarly situated.”). When comparing defendants to determine an

appropriate sentence, a party must “show[] that other defendants’

circumstances exactly paralleled his, and a court should not consider

sentences imposed on defendants in other cases in the absence of such a

showing by a party.” United States v. Lacerda, 958 F.3d 196, 215 (3d

Cir. 2020)(quoting United States v. Iglesias, 535 F.3d 150, 161 n.7 (3d

Cir. 2008)).

     The Defendant has pointed to the sentences imposed on two

mayors in Pennsylvania who were convicted of similar public corruption

offenses: Mayor Ed Pawlowski of Allentown and Mayor Vaughn Spencer

of Reading. Like the Defendant, these mayors corrupted their offices to

their financial benefit, received bribes and kickbacks from a variety of

vendors, and were convicted for their involvement in a variety of


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corrupt schemes. However, comparing the relative culpability of each

corrupt mayor is difficult and does not rise to the “exactly parallel”

standard. Lacerda, 958 F.3d at 215.

           a. Reading Mayor Vaughn Spencer

     Former Reading Mayor Spencer was convicted of involvement in

three corrupt schemes. United States v. Spencer, No. 5:17-CR-391 (E.D.

Pa. 2017). The first involved his receipt of thousands of dollars in

campaign contributions from an engineering firm, T&M Associates, in

quid pro quo exchange for the mayor’s involvement in awarding

contacts for the firm. Id. at Doc. 185 (Court Memorandum in support or

Rule 29 Order); Doc. 175 (Government Sentencing Memorandum). The

bribery payments were a few thousand dollars, while the value of the

contracts at issue were valued at $205,000, $190,000, $227,000, and

$472,000. Id. at p. 2-4.

     The second fraud scheme involved another engineering firm,

McTish Kunkel & Associates. Id. Doc. 175. Similarly, the mayor was

convicted of accepting thousands of dollars in campaign contributions in

quid pro quo exchange for assisting the firm obtain engineering

contracts. Id. at p. 5. While one of the road reconstruction contracts was


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purportedly worth millions, the bribing firm did not win the contract.

Id. at 6. They did receive preferential treatment for a $7,000 contract

and for subcontract worth $92,000. Id. at 7.

      The third scheme was a bribe paid to repeal a local rule that

limited individual campaign donations. Id. at 7-8. By repealing the

statute, the mayor would have been able to keep approximately a

$100,000 in campaign contributions that would have otherwise been

prohibited. Id. at 7.

      The schemes of Mayors Spencer and Courtright are similar in

many regards, most notably that city contracting was influenced to

reward those who financially benefited the mayor. Yet, they differ in

material ways. As was made clear during prior proceedings in this case,

the Defendant’s conduct appears to have cost the City of Scranton over

$1,000,000 in lost tax revenues, while Mayor Spencer does not appear to

have cost the City of Reading any lost revenue. However, the

Defendant did not work to actually change laws to facilitate his

corruption, while Mayor Spencer tried to institutionalize his corrupt

practices by eliminating good government legislation. On balance, it is

difficult to compare these corrupt mayors relative criminality.


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     Finally, a substantial difference between the two mayors is how

their cases were resolved. The Defendant entered a guilty plea to his

crimes, while Mayor Spencer vigorously challenged the charges which

resulted in a multi-week jury trial.

           b. Allentown Mayor Ed Pawlowski

     Like Mayor Spencer, the former Mayor of Allentown fought the

allegations of corruption. During a six-week jury trial, the government

presented evidence of nine different pay-to-play bribe schemes. United

States v. Pawlowski, et al., No. 5:17-CR-390 (E.D.Pa 2017) at Doc. 255

(Court Memorandum in support of Rule 29 Order). The jury acquitted

the mayor of the charges associated with one of those corruption

schemes. However, the defendant was convicted of the other eight,

including expediting zoning for a real estate developer, steering

contracts to Northeast Revenue Service, and steering contracts to other

city vendors in exchange for campaign contributions and other things of

value. Id. The substance of each corruption allegation is too in depth for

meaningful comparison to the present case. Yet, in many respects the

sale of office to vendors who supported him with campaign




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contributions and other things of value is strikingly similar to the

Defendant’s case.

       A substantial difference between the two, however, is a

comparison of the efforts taken to conceal their corrupt activities. Mayor

Pawlowski tried thwart law enforcement surveillance by using “burner”

phones, wiping electronic devices, passing handwritten notes to vendors

with dollar figures to avoid detection by audio surveillance, etc. Id. at

Doc. 242 (Order of Court regarding guideline objections). The

Defendant’s efforts to conceal his corruption did not rise to this level.

             c. Other Mayors

       In support of their position for a variance, the defense has used

the sentences imposed in the cases of Mayors Allentown and Reading as

guideposts for this Court. There are a wealth of other federal sentences

imposed on corrupt mayors akin to, equally dissimilar, to the present

case.1 Each of these is a unique study in human failing and criminality.


1   United States v. Kwame Kilpatrick, No 2:10-CR-20403 (E.D.Mich.
2013)(28 year sentence for racketeering, bribery, and corruption
offenses committed during his term as Mayor of Detroit); United States
v. Ray Nagin, No. 2:13-CR-11 (E.D.La. 2013)(10 year sentence imposed
for corruption committed as Mayor of New Orleans); United States v.
Milton Milan, No. 1:00-CR-194 (D.N.J. 2000)(87 month sentence
imposed for corruption as Mayor of Camden); United States v. Tony
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While these other corruption sentences are noteworthy in their own

right, they are poor guides to the task faced by this Court in sentencing

this individual for the crimes he committed.

IV.   RECOMMENDATION

      The government recommends a sentence of imprisonment within

the range of eight to ten years. The United States arrived at this

recommendation after balancing the applicable sentencing guidelines,

the policies behind the Sentencing Guidelines, the Section 3353(a)

factors, as well as other considerations including the following. The

government considered what the guidelines would have been if the loss

figure were limited to the value of the bribe payments. And, the

government looked to what the guidelines would have been if the

financial loss to the City of Scranton were the loadstar of the guideline

calculation. The sentences imposed on other mayors federally

prosecuted for corruption were also weighed. Finally, the government




Mack, No. 3:12-CR-795 (D.N.J. 2012)(58 month sentence imposed for
bribery committed while Mayor of Trenton); United States v. Dwaine
Caraway, No. 3:18-CR-409 (N.D. Tex. 2018)(56 month sentence imposed
for corruption as Mayor of Dallas); United States v. Catherine Pugh,
No. 1:19-CR-541 (D. Md. 2019)(36 months sentence imposed for
corruption as Mayor of Baltimore).
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considered the value to the public of the Defendant’s early acceptance of

responsibility and prompt resignation from office.

     On balance, the United States recommendation is consistent with

the policies of the Sentencing Guidelines and Section 3553(a) factors.

                                  Respectfully submitted,

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                                  UNITED STATES ATTORNEY

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